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US DISTRICT
NORTHERN DISTRICT OR TEXAS
FILED

  
 
 
  

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IN THE UNITED STATES DISTRICT CQURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION SEP 23 2019

 

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UNITED STATES OF AMERICA | “US. DISTRICT COURT

! B
No. 3:19-CR-262-N

 

Vv.

DAWN GREENWOOD

PLEA AGREEMENT

Dawn Greenwood, the defendant, Douglas Greene, the defendant’s attorney, and
the United States of America (the government) agree as follows:
1, Rights of the defendant: The defendant understands that the defendant
has the rights:

a. to plead not guilty;
b. to have a trial by jury;
C. to have the defendant’s guilt proven beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call witnesses in the
defendant’s defense; and

e. against compelled self-incrimination.

2. Waiver of rights and plea of guilty: The defendant waives these rights
and pleads guilty to the offense alleged in Count Two of the indictment, charging a
violation of 18 U.S.C. § 2251 (a), that is, Production of Child Pornography. The

defendant understands the nature and elements of the crime to which the defendant is

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pleading guilty, and agrees that the factual resume the defendant has signed is true and
will be submitted as evidence.

3. Sentence: The minimum and maximum penalties the Court can impose
include:

a. imprisonment for a mandatory term of not less than 15 years and not
more than 30 years;

b. a fine not to exceed $250,000, or twice any pecuniary gain to the
defendant or loss to the victim(s);

C. a term of supervised release of not less than 5 years and not more
than life, which is mandatory under the law and will follow any term
of imprisonment. Ifthe defendant violates the conditions of
supervised release, the defendant could be imprisoned for the entire
term of supervised release;

d. a mandatory special assessment of $100;

e. restitution to victims or to the community, which is mandatory under
the law, and which the defendant agrees may include restitution
arising from all relevant conduct, not limited to that arising from the
offense of conviction alone;

f. costs of incarceration and supervision; and

g. forfeiture of property.

4, Immigration consequences: The defendant recognizes that pleading
guilty may have consequences with respect to the defendant’s immigration status if the
defendant is not a citizen of the United States. Under federal law, a broad range of

crimes are removable offenses. The defendant understands this may include the offense

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to which the defendant is pleading guilty, and for purposes of this plea agreement, the
defendant assumes the offense is a removable offense. Removal and other immigration
consequences are the subject of a separate proceeding, however, and the defendant
understands that no one, including the defendant’s attorney or the district court, can
predict to a certainty the effect of the defendant’s conviction on the defendant’s
immigration status. The defendant nevertheless affirms that the defendant wants to plead
guilty regardless of any immigration consequences that the defendant’s plea of guilty
may entail, even if the consequence is the defendant’s automatic removal from the United
States.

5. Court’s sentencing discretion and role of the Guidelines: The defendant
understands that the sentence in this case will be imposed by the Court after consideration
of the United States Sentencing Guidelines. The guidelines are not binding on the Court,
but are advisory only. The defendant has reviewed the guidelines with the defendant’s
attorney, but understands no one can predict with certainty the outcome of the Court’s
consideration of the guidelines in this case. The defendant will not be allowed to
withdraw the defendant’s plea if the defendant’s sentence is higher than expected. The
defendant fully understands that the actual sentence imposed (so long as it is within the
statutory maximum) is solely in the discretion of the Court.

6. Mandatory special assessment: Prior to sentencing, the defendant agrees
to pay to the U.S. District Clerk the amount of $100 in satisfaction of the mandatory

special assessment in this case.

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7. Defendant’s agreement: The defendant shall give complete and truthful
information and/or testimony concerning the defendant’s participation in the offense of
conviction. Upon demand, the defendant shall submit a personal financial statement
under oath and submit to interviews by the government and the U.S. Probation Office
regarding the defendant’s capacity to satisfy any fines or restitution. The defendant
expressly authorizes the United States Attorney’s Office to immediately obtain a credit
report on the defendant in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court. The defendant fully understands that any financial
obligation imposed by the Court, including a restitution order and/or the implementation
of a fine, is due and payable immediately. In the event the Court imposes a schedule for
payment of restitution, the defendant agrees that such a schedule represents a minimum
payment obligation and does not preclude the U.S. Attorney’s Office from pursuing any
other means by which to satisfy the defendant’s full and immediately enforceable
financial obligation. The defendant understands that the defendant has a continuing
obligation to pay in full as soon as possible any financial obligation imposed by the
Court.

8. Forfeiture of property: The defendant agrees not to contest, challenge, or
appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United
States of any property noted as subject to forfeiture pursuant to the plea of guilty,
specifically the forfeiture of: one LG GSM Stylo 4, Model: LM-Q710(FGN), IMEI:
356694093 164549; one LG GSM Aristo 2, Model: LM-X210MA, Android ID:

bcObec53f3749ec7; and one ZTE GSM Z835 Maven 3, Android ID: 7483ac26f51a832c.

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The defendant consents to entry of any orders or declarations of forfeiture regarding such
property and waives any requirements (including notice of forfeiture) set out in 19 U.S.C.
§§ 1607-1609; 18 U.S.C. §§ 981, 983, and 985; the Code of Federal Regulations; and
Rules 11 and 32.2 of the Federal Rules of Criminal Procedure. The defendant agrees to
provide truthful information and evidence necessary for the government to forfeit such
property. The defendant agrees to hold the government, its officers, agents, and
employees harmless from any claim whatsoever in connection with the seizure,
forfeiture, storage, or disposal of such property.

9. Government’s agreement: The government will not bring any additional
charges against the defendant based upon the conduct underlying and related to the
defendant’s plea of guilty. The government will file a Supplement in this case, as is
routinely done in every case, even though there may or may not be any additional terms.
The government will dismiss, after sentencing, any remaining charges in the pending
indictment as to this defendant. This agreement is limited to the United States Attorney’s
Office for the Northern District of Texas and does not bind any other federal, state, or
local prosecuting authorities, nor does it prohibit any civil or administrative proceeding
against the defendant or any property.

10. Violation of agreement: The defendant understands that if the defendant
violates any provision of this agreement, or if the defendant’s guilty plea is vacated or
withdrawn, the government will be free from any obligations of the agreement and free to
prosecute the defendant for all offenses of which it has knowledge. In such event, the

defendant waives any objections based upon delay in prosecution. If the plea is vacated

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or withdrawn for any reason other than a finding that it was involuntary, the defendant
also waives objection to the use against the defendant of any information or statements
the defendant has provided to the government, and any resulting leads.

11. | Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement. There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

12. Waiver of right to appeal or otherwise challenge sentence: The
defendant waives the defendant’s rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. §
3742, to appeal the conviction, sentence, fine and order of restitution or forfeiture in an
amount to be determined by the district court. The defendant further waives the
defendant’s right to contest the conviction, sentence, fine and order of restitution or
forfeiture in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and
28 U.S.C. § 2255. The defendant, however, reserves the rights (a) to bring a direct appeal
of (i) a sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error
at sentencing, (b) to challenge the voluntariness of the defendant’s plea of guilty or this
waiver, and (c) to bring a claim of ineffective assistance of counsel.

13. Representation of counsel: The defendant has thoroughly reviewed all
legal and factual aspects of this case with the defendant’s attorney and is fully satisfied
with that attorney’s legal representation. The defendant has received from the
defendant’s attorney explanations satisfactory to the defendant concerning each

paragraph of this plea agreement, each of the defendant’s rights affected by this

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agreement, and the alternatives available to the defendant other than entering into this
agreement. Because the defendant concedes that the defendant is guilty, and after
conferring with the defendant’s attorney, the defendant has concluded that it is in the
defendant’s best interest to enter into this plea agreement and all its terms, rather than to
proceed to trial in this case.

14. Entirety of agreement: This document is a complete statement of the
parties’ agreement and may not be modified unless the modification is in writing and
signed by all parties. This agreement supersedes any and all other promises,
representations, understandings, and agreements that are or were made between the
parties at any time before the guilty plea is entered in court. No promises or
representations have been made by the United States except as set forth in writing in this

plea agreement.

AGREED TO AND SIGNED thise/*“day of 4rOnby 2019.

ERIN NEALY COX
UNITED STATES ATTORNEY

Chl % Jae—
Camille E. Sparks U
Deputy Section Chief
Assistant United States Attorney
Texas State Bar No. 00790878
1100 Commerce, Third Floor
Tel: 214-659-8600
Email: Camille.sparks@usdoj.gov

LL —_

Keith Robinson
Section Chief

 

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I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.

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DAWN GREENWOOD Date

Defendant

 

I am the defendant’s attorney. I have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and belief, my client’s decision to enter
into this plea agreement is an informed and voluntary one.

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DOUGLAS GREENE Date
Attorney for Defendant

I have been advised, and understand, that under the Sex Offender Registration and
Notification Act, a federal law, I must register and keep the registration current in each of
the following jurisdictions: where I reside; where I am an employee; and where I am a
student. I understand that the requirements for registration include providing my name,
my residence address, and the names and addresses of any places where I am or will be
an employee or a student, among other information. I further understand that the
requirement to keep the registration current includes informing at least one jurisdiction in
which I reside, am an employee, or am a student not later than three business days after
any change of my name, residence, employment, or student status. I further understand
that I am required to provide information relating to my intended travel outside the
United States. I have been advised, and understand, that failure to comply with these
obligations subjects me to prosecution for failure to register under federal law, 18 U.S.C.
§ 2250, which is punishable by a fine or imprisonment or both.

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DA GREENWOOD Date
Defendant
Aipo@~_—— o/2,114
DOUGLAS GREENE Date
Attorney for Defendant

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